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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                   Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.,

               Defendants.
                                                /


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                   Case No. 11-20066

JEFF GARVIN SMITH et al.,

               Defendants.
                                                /

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                   Case No. No. 12-20387

SMILEY VILLA et al.,

               Defendants.
                                                /

                            PRELIMINARY SCHEDULING ORDER

      On August 24, 2012, the Government filed a “Memorandum Regarding

Defendant Groupings.” Pursuant to the court’s on the record direction on August 22,

2012, certain other steps need to occur to keep the case proceeding efficiently.

Accordingly,
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       IT IS ORDERED that by September 14, 2012, the Government shall file a

“Memorandum of Case Management,” including the areas of topic mentioned during the

August 22, 2012 status conference, and any other relevant topics in the Government’s

discretion.

       IT IS FURTHER ORDERED that by September 14, 2012, Defendants shall

submit a suggestion as to a proposed liaison counsel for each of the four groups

submitted by the Government. Liaison counsel will operate as the primary contact and

organizational leader for each of the groups, but will bear no responsibility for formally

representing each of the Defendants within the group. Liasion counsel shall participate

in every status or telephonic conference, and nonliaison counsel shall not be required to

attend the conferences. Ideally, the attorneys within each group shall agree among

themselves as to the nomination of the proposed liaison counsel, and the proposed

liaison counsels per group shall themselves file notice of such agreement by September

14, 2012. In the event a group cannot agree, the differing proposals shall be submitted

by each attorney who will be, essentially, nominating himself, along with a list of the

other group members who agree with that nomination.

       The court will consider the nominations and appoint liaison counsel, with any

further instructions, by September 19, 2012.

       IT IS FURTHER ORDERED that newly appointed liaison counsel shall each file a

reaction to the Government’s “Memorandum of Case Management” by September 21,

2012. The reaction filed by each liaison counsel shall include summaries of all reactions

by the attorneys within their group, as well as any negative reaction(s) there may have




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been to the grouping proffered by the Government, and the reasoning underpinning

such reactions.

           The court will conduct an in person status conference on September 24, 2012 at

9:30 a.m. Liaison counsel shall be required to attend.

           Finally, in an effort to streamline these proceedings, IT IS ORDERED that the

parties shall refrain from filing any nonessential motions until further order of the court,

which shall be after the September 24, 2012 status conference.


                                                                   s/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE

Dated: September 7, 2012




I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 7, 2012, by electronic and/or ordinary mail.

                                                                   s/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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